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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

In re:
DANA MORSE FISHER                                                Case No. 19-17470-JKO

                                                                 Chapter 7
                          Debtor.
                                                  /

      TRUSTEE'S APPLICATION FOR EMPLOYMENT OF SPECIAL COUNSEL

          Trustee, SONYA S. SLOTT, respectfully requests an Order of the court authorizing the

employment of Lawrence A. Levine, Esq., of the Law Offices of Anidjar & Levine, PA, to

represent the Trustee as special counsel in this case and states:

          1.     It is necessary that the trustee employ an attorney to represent the bankruptcy estate

to undertake the efforts in a personal injury case, primarily an auto-negligence case, involving the

Debtor, Dana Morse Fisher.

          2.     The attorney does not hold or represent any interest adverse to the debtor or the

estate with respect to the matter on which he is to be employed, and the trustee believes that the

employment of this attorney would be in the best interest of the estate.

          3.     Attached to this motion as “Exhibit A” is the proposed attorney's affidavit

demonstrating Lawrence A. Levine, Esq. and the Law Offices of Anidjar & Levine, PA, are

disinterested as required by 11 U. S. C. § 327(e) and a verified statement as required under

Bankruptcy Rule 2014.

          4.     The attorney has agreed to be compensated in accordance with 11 U. S. C. § 330

and his existing Fee Agreement (attached as Exhibit "B").

          5.     The Trustee believes this attorney is qualified to handle and pursue this cause of

action.
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       WHEREFORE, the Trustee respectfully requests an Order authorizing the employment of

Lawrence A. Levine, Esq. of the Law Offices of Anidjar & Levine, PA to represent the Trustee on

contingency basis.

Dated: July 2, 2019
                                                /s/ SONYA S. SLOTT
                                                SONYA S. SLOTT, TRUSTEE
                                                P.O. Box 15580
                                                Plantation, FL 33318
                                                (954) 423-4469
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